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2
3                         UNITED STATES DISTRICT COURT
4                       EASTERN DISTRICT OF WASHINGTON
5
6 UNITED STATES OF AMERICA,                          No. 12-cr-6025-EFS-3
7                      Plaintiff,                    ORDER FOLLOWING:
8 vs.                                                ☐ INITIAL APPEARANCE
9 CAESARE CRISTEN BAEZ,                              ☐ ARRAIGNMENT
10                     Defendant.                    ☐ PRETRIAL RELEASE
11                                                        REVOCATION HEARING
12                                                   ☒ MOTION GRANTED
13                                                        (ECF No. 238, 241, 242)
14                                                   ☐ MOTION DENIED
15                                                        (ECF No. _____)
16                                                   ☐    ACTION REQUIRED
17
18   Date of hearing: 06/21/2013
19   ☒     Defendant’s motion for action: Pretrial
20   ☒     Defendant’s second and third motions to modify pre-trial release conditions,
21         ECF No. 238, 241 and 242, on an expedited basis, ECF No. 243 are all
22         granted. Previously ordered conditions of release are modified as
23         follows: the requirements of GPS monitoring and curfew may be removed.
24         Defendant is permitted to attend a firework celebration on July 4, 2013.
25         All other conditions remain.
26   DATED June 21, 2013.
27
28                                   s/James P. Hutton



     ORDER - 1
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1                             JAMES P. HUTTON
                      UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
